996 F.2d 1211
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Shelson Gregory HOLM, Plaintiff-Appellant,v.Officer BANKS;  Officer Burton;  Officer Hartso;  OfficerEames, Defendants-Appellees.
    No. 93-6257.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 7, 1993.Decided:  June 24, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, Chief District Judge.  (CA-92-1443)
      Sheldon Gregory Holm, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Sheldon Gregory Holm filed suit under 42 U.S.C.s 1983 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    